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                     EXHIBIT 19
      CASE 0:18-cv-01776-JRT-JFD Doc. 1522-19 Filed 09/29/22 Page 2 of 6



From: Brian Robison
Sent: Monday, June 13, 2022 1:12 PM
To: Moore, Elizabeth <Elizabeth.Moore@cwt.com>; Kopp, Christopher <CKopp@gibsondunn.com>; Yu,
Minae <MYu@gibsondunn.com>; Parker, Richard G. <RParker@gibsondunn.com>; Lipton, Joshua
<JLipton@gibsondunn.com>; Jordan Campbell <jordan@brownfoxlaw.com>; Charlene Koonce
<charlene@brownfoxlaw.com>; Margaret Mead <margaret@brownfoxlaw.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>
Subject: RE: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions

Elizabeth:
       I am writing in response to David Eddy’s letter from May 31. As you know
by now, the parties negotiated at length last year over the scope of the
defendants’ data productions, and Smithfield relied upon agreements reached
during those talks in producing its voluminous transaction data from multiple
different databases. Smithfield substantially completed its data productions by
September 1, 2021, other than a few small, straggler data productions that
came later. Smithfield is not willing to incur the cost and hassle of restarting
its data productions at this late stage. This is one of many issues on which
late-arriving plaintiffs cannot be allowed to upset discovery agreements (and
their associated tradeoffs) that the parties reached before their arrival.
Smithfield has worked with the new DAPs on discrete discovery issues like new
search terms targeted to the new DAPs, but another data production is a
different matter. Finally, you are correct that the public settlement agreements
that Smithfield signed with the DPPs and the Commercial IPPs contained a
broader definition of pork than the parties have been litigating, but as part of
those settlements, Smithfield did not produce the sort of granular, invoice-level
detail on non-litigated pork products that the DAPs are apparently seeking
through their RFPs and David’s letter. I am happy to talk further if you think
that would be productive.
Brian




From: Moore, Elizabeth <Elizabeth.Moore@cwt.com>
Sent: Friday, June 10, 2022 11:02 AM
To: Kopp, Christopher <CKopp@gibsondunn.com>; Yu, Minae <MYu@gibsondunn.com>; Parker, Richard
G. <RParker@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>; Brian Robison
<brian@brownfoxlaw.com>; Jordan Campbell <jordan@brownfoxlaw.com>; Charlene Koonce
<charlene@brownfoxlaw.com>; Margaret Mead <margaret@brownfoxlaw.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>
Subject: RE: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions
         CASE 0:18-cv-01776-JRT-JFD Doc. 1522-19 Filed 09/29/22 Page 3 of 6



Chris,

Thank you for this information. Please let us know Smithfield’s response to the attached letter from
David Eddy. We understand that Smithfield may have use a broad definition of Pork products in settling
certain class cases so hopefully David’s request can be addressed.

Regards,
Elizabeth

Elizabeth Moore
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Elizabeth.Moore@cwt.com | www.cadwalader.com


From: Kopp, Christopher <CKopp@gibsondunn.com>
Sent: Monday, June 6, 2022 6:18 PM
To: Moore, Elizabeth <Elizabeth.Moore@cwt.com>; Yu, Minae <MYu@gibsondunn.com>; Parker,
Richard G. <RParker@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>;
brian@brownfoxlaw.com
Subject: RE: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions

Elizabeth –

We have produced all of the sales data referenced below, including the data regarding the plant located
in Des Moines. Separately, we plan to produce in the next week or two about 200 emails that we’ve
gathered from a custodian’s personal gmail account. But aside from that, we have produced all
documents.

Best,
Chris

Christopher Kopp

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CKopp@gibsondunn.com • www.gibsondunn.com



From: Moore, Elizabeth <Elizabeth.Moore@cwt.com>
Sent: Friday, June 3, 2022 2:17 PM
To: Yu, Minae <MYu@gibsondunn.com>; Parker, Richard G. <RParker@gibsondunn.com>; Lipton, Joshua
       CASE 0:18-cv-01776-JRT-JFD Doc. 1522-19 Filed 09/29/22 Page 4 of 6



<JLipton@gibsondunn.com>; Kopp, Christopher <CKopp@gibsondunn.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>;
brian@brownfoxlaw.com
Subject: RE: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions

[WARNING: External Email]
Hi Minae,

I hope you’re well. Can you please confirm whether Smithfield has produced all documents, and if not,
when you anticipate completion of all productions?

Regards,
Elizabeth

Elizabeth Moore
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200 Liberty Street, New York, NY 10281
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Elizabeth.Moore@cwt.com | www.cadwalader.com


From: Yu, Minae <MYu@gibsondunn.com>
Sent: Friday, April 15, 2022 1:48 PM
To: Moore, Elizabeth <Elizabeth.Moore@cwt.com>; Parker, Richard G. <RParker@gibsondunn.com>;
Lipton, Joshua <JLipton@gibsondunn.com>; Kopp, Christopher <CKopp@gibsondunn.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>;
brian@brownfoxlaw.com
Subject: RE: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions

Elizabeth,

Thank you for your patience while we looked into the questions you raised during the parties’ meet and
confer. As I explained to you at that time, Smithfield has already produced documents responsive to
RFP No. 29 that are in Smithfield’s possession, including but not limited to SMITHFIELD04625054-
SMITHFIELD04625069 and SMITHFIELD04771010. This week, we also produced SMITHFIELD04970671-
SMITHFIELD04970672. Smithfield’s sales data also covers some of the information requested in RFP No.
29. As you can see from these documents, Smithfield has produced data covering 2005 to 2020. In
addition, we anticipate producing some additional data for one plant located in Des Moines, which we
expect to complete by the end of this month. Please let us know if you have any questions.

Regards,
Minae

Minae Yu
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333 South Grand Avenue, Los Angeles, CA 90071-3197
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MYu@gibsondunn.com • www.gibsondunn.com



From: Moore, Elizabeth <Elizabeth.Moore@cwt.com>
Sent: Tuesday, April 12, 2022 9:15 AM
To: Parker, Richard G. <RParker@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>; Yu,
Minae <MYu@gibsondunn.com>; Kopp, Christopher <CKopp@gibsondunn.com>
Cc: Iovieno, Philip <Philip.Iovieno@cwt.com>; Stern, Jack <Jack.Stern@cwt.com>; Singer, Mark
<Mark.Singer@cwt.com>; Andrijauskaite, Zygimante <Zygimante.Andrijauskaite@cwt.com>
Subject: In re Pork Antitrust Litigation, 0:18-cv-01776 - Smithfield Productions

[WARNING: External Email]
Counsel,

Please see the attached correspondence.

Regards,
Elizabeth

Elizabeth Moore
Associate
Cadwalader, Wickersham & Taft LLP
200 Liberty Street, New York, NY 10281
Tel: +1 (212) 504-6441 | Fax: +1 (212) 504-6666
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